
VILLANTI, Judge.
Jason and Jennifer Lexell appeal the trial court’s order denying their combined motion for attorney fees and costs. Finding no abuse of discretion, we affirm that portion of the order denying their attorney fees without comment. However, based upon proper concession of error by Appel-lee Deutsche Bank National Trust Company, we reverse that portion of the order which denied the Lexells their taxable costs. To avoid any confusion on remand, we reject the Lexells’ argument that, under the circumstances of this case, a determination of any recoverable costs should include attorney fees.
Affirmed in part, reversed in part, and remanded for further proceedings.
LaROSE and KHOUZAM, JJ., Concur.
